17-23069-rdd        Doc 25      Filed 09/05/17       Entered 09/05/17 13:52:06      Main Document
                                                    Pg 1 of 4


DELBELLO DONNELLAN WEINGARTEN                                Hearing Date: September 22, 2017
WISE & WIEDERKEHR, LLP                                       Hearing Time: 10:00 a.m.
Attorneys for the Debtor
One North Lexington Avenue
White Plains, New York 10601
(914) 681-0200
Dawn Kirby, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
In re:
                                                                      Chapter 7
WILLIAM A. KNACK,                                                     Case No. 17-23069 (rdd)

                                             Debtor.
----------------------------------------------------------------X

                DEBTOR’S MOTION TO AVOID THE JUDGMENT LIEN OF
                  NOELLE FELDMAN PURSUANT TO 11 U.S.C. §522(f)

TO: THE HONORABLE ROBERT D. DRAIN,
    UNITED STATES BANKRUPTCY JUDGE:

          The Application of William A. Knack (the “Debtor”), the above-captioned Debtor, by his

attorneys, DelBello Donnellan Weingarten Wise & Wiederkehr, LLP, respectfully represents and

sets forth as follows:

                                              JURISDICTION

          1.     The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§157 and

1334. Consideration of the Application is a core proceeding pursuant to 28 U.S.C.

§157(b)(2)(A).

          2.     Venue is proper in this District pursuant to 28 U.S.C. §§1408 and 1409.

          3.     This proceeding has been initiated pursuant to Bankruptcy Code §§105(a) and

522(f).
17-23069-rdd    Doc 25     Filed 09/05/17      Entered 09/05/17 13:52:06     Main Document
                                              Pg 2 of 4


                                     BACKGROUND

The Debtor’s Residence

       4.      On July 20, 2004, the Debtor and his wife purchased their current residence

located at 115 Bedford Road, Chappaqua, New York 10514 (the “Residence”). The purchase

price was $569,000. A copy of the deed is annexed as Exhibit A.

       5.      On January 12, 2011, the Debtor and his wife refinanced the Residence with US

Bank National Association ND in the amount of $648,000.00 (the “First Mortgage”). A copy of

the First Mortgage is annexed as Exhibit B.

The Judgment

       6.      On April 13, 2017 at 3:37 p.m., Noelle Feldman (“Judgment Creditor”) entered a

civil judgment (the “Judgment”) against the Debtor in the Supreme Court of the State of New

York, Westchester County, in the amount of $957,674.66 in an action titled Noelle Feldman v.

William Knack, Index No. 69747/2014. A copy of the Judgment is annexed hereto as Exhibit C.

The Chapter 7 Case

       7.      On July 11, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for

liquidation pursuant to Chapter 7 of the Bankruptcy Code (the “Bankruptcy Code”).

       8.      On July 11, 2017, the Debtor filed Schedules of Assets and Liabilities and a

Statement of Financial Affairs. The Debtor’s Schedule C asserts a homestead exemption in the

amount of $165,550 pursuant to NY CPLR §5206. A copy of the Debtor’s Schedule C is

annexed as Exhibit D.

       9.      On August 2, 2017 at 1:00 p.m., the Meeting of Creditors pursuant to Bankruptcy

Code §341(a) was held and the meeting was closed. Thirty days later, September 1, 2017, was

the deadline to object to the Debtor’s claimed exemptions. No objections were filed.




                                                2
17-23069-rdd      Doc 25    Filed 09/05/17     Entered 09/05/17 13:52:06        Main Document
                                              Pg 3 of 4


       10.      Pursuant to a report prepared by a New York State certified appraiser on August

6, 2017, the fair market value of the Residence is $505,000. A copy of the appraisal is annexed

as Exhibit E.

       11.      Pursuant to a monthly home mortgage statement from US Bank, the principal

amount due on the First Mortgage as of July 1, 2017, was $565,154.20, which exceeds the value

of the Residence. A copy of the mortgage statement is annexed as Exhibit F.

                                      RELIEF REQUESTED

       12.      The Debtor seeks to remove the Judgment as a judicial lien against his Residence

pursuant to Bankruptcy Code §522(f)(1)(A), which states in relevant part as follows:

                Notwithstanding any waiver of exemptions, but subject to paragraph
                (3), the Debtor may avoid the fixing of a lien on an interest of the
                Debtor in property to the extent that such lien impairs an exemption to
                which the Debtor would have been entitled under subsection (b) of this
                section, if such lien is –

                (A) a judicial lien, other than a judicial lien that secures a debt of a
                kind that is specified in section 523(a)(5);


       13.      The Judgment is a judicial lien on the Debtor’s Residence, is impairing his

homestead exemption, and therefore should be avoided.

       14.      The judicial lien against the Residence creates an obstacle to the fresh start that

every Chapter 7 Debtor is entitled.

       15.      Accordingly, the Debtor respectfully requests that this Court declare the judicial

lien created by the Judgment null and void and of no further force and effect with respect to the

Residence or to any property in which the Debtor may acquire an interest, and to direct the

Judgment Creditor to execute any and all documents necessary to strike the lien off the public

records.




                                                 3
17-23069-rdd     Doc 25     Filed 09/05/17    Entered 09/05/17 13:52:06          Main Document
                                             Pg 4 of 4


       16.     No previous request for the relief sought herein has been made.

                                             NOTICE

       17.     Notice of this Motion has been provided to (i) Office of the United States Trustee;

(ii) Counsel to Noelle Feldman; (iii) all Notices of Appearance. The Debtor submits that said

notice is adequate and proper.

       WHEREFORE, the Debtor requests this Court entry of the Order annexed hereto as

Exhibit G, together with such other and further relief as is just under the circumstances.

Dated: White Plains, New York
       September 5, 2017              DELBELLO DONNELLAN WEINGARTEN
                                      WISE & WIEDERKEHR, LLP
                                      Attorneys for the Debtor
                                      One North Lexington Avenue
                                      White Plains, New York 10601
                                      (914) 681-0200

                                      By: _/s/ Dawn Kirby
                                              Dawn Kirby




                                                 4
